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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF CoLUMBIA F I L E D
UN!TED sTATEs oF AMERICA FEB 2 l 2018
Clerk. U.S. Distr\ct & Bankruptcy
v' seems for tha outlet 01 Columb!a

Crim. No. 17-232 (EGS)

MICHAEL T. FLYNN,

Defendant

 

 

 

Upon the unopposed motion of the govemment, pursuant to Fed. R. Crim. P.
16(d), it is hereby ORDERED:

1. All of the materials provided by the United States in preparation for, or
in connection with, any stage of the proceedings in this case (collectively, “the
materials") are subject to this protective order and may be used by defendant,
defendant’s counsel, legal experts, administrative personnel, investigators, data or
accounting analysts and database processors (deiined as the Defense) solely in
connection with the defense of this case, and for no other purpose, and in connection
with no other proceeding, without further order of this Court. Before materials are
provided to any member of the Defense, each must be provided with a copy of this
Order, and that person must agree in writing to abide by the terms of this Order.

2. The Defense shall not share or provide the materials or their contents
directly or indirectly to any person or entity other than persons who are interviewed

as potential witnesses, counsel for potential witnesses, and other persons to whom

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the Court may authorize disclosure (collectively, “authorized persons"). Potential
witnesses and their counsel may be shown copies of the materials as necessary to
prepare the defense, but may not retain copies or create copies without prior
permission of the Court.

3. The Defense shall not copy or reproduce the materials except in order to
provide copies of the materials for use in connection with this case by the Defense.
Such copies and reproductions shall be treated in the same manner as the original
materials.

4. The Defense and authorized persons shall not disclose any notes or
records of any kind that they make in relation to the contents of the materials, and
all such notes or records are to be treated in the same manner as the original
materials.

5. Before providing materials to an authorized person, the Defense must
provide the authorized person with a copy of this Order, and that person must agree
in writing to abide by the terms of this Order.

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6. The United States may produce materials containing personally
identiiiable information, including information identiiied in Rule 49.1 of the Federal
Rules of Cri.minal Procedure (“sensitive materials”), to defense counsel. Sensitive
materials shall be plainly marked as “sensitive” by the United States prior to

disclosure.

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7. No sensitive materials, or the information contained therein, may be
disclosed to any persons other than the defendant, defense counsel, persons employed
to assist the defense, or the person to whom the sensitive information solely and
directly pertains, without prior notice to the United States and authorization from
the Court. Absent prior permission from the Court, information marked as sensitive
shall not be included in any public E]ing with the Court, and instead shall be
submitted under seal (except if the defendant chooses to include in a public document
sensitive information relating solely and directly to the defendant).

8. Sensitive materials must be maintained in the custody and control of
defense counsel. Defense counsel may show sensitive materials to the defendant as
necessary to assist in preparation of the defense; however, defense counsel may not
provide a copy of sensitive materials to the defendant Moreover, if defense counsel
does show sensitive materials to the defendant, defense counsel may not allow the
defendant to write down any personally identifiable information that is contained in
the sensitive materials.

9. The procedures for use of designated sensitive materials during any
proceeding in this matter shall be determined by the parties and the Court in advance
of the proceeding. No party shall disclose designated sensitive documents in open
court without prior consideration by the Court.

10. Absent statutory authority for Eling under seal, a iling iiled with the

intention of it being sealed must be filed by electronic means in a manner authorized

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by the Clerk and shall be accompanied by a motion to seal. The filing will be treated
as sealed, pending the outcome of the Court’s ruling on the motion

1 1. Upon conclusion of this criminal case, all of the materials and all copies
made thereof shall be disposed of in one of two ways, unless otherwise ordered by the
Court. The materials may be (1) destroyed or (2) returned to the United States. By
no later than 60 days following the conclusion of the criminal case, the defense shall
certify to the Court that the materials were (1) destroyed, or (2) returned to the
United States.

12. To the extent any material is produced by the United States to the
Defense by mistake, the United States shall have the right to request the return of
the material and shall do so in writing. Within seven days of such a request, the
Defense shall return all such material if in hard copy, and in the case of electronic
materials, shall certify in writing that all copies of the specified material have been
deleted from any location in which the material was stored.

13. The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials.

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14. Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modiication of any provision hereof.

 
 
  

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The Honorable Emmet G. Sullivan
United States District Judge

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Senior Assistant Special Counsel

Zainab N. Ahmad
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Attorney for the defendant

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Alexa nds/lia rigton
Attorney for the defendant

